                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                                  5:20-cv-44-KDB
                              (5:18-cr-48-KDB-DSC-5)
RICARDO CERVANTES-SANCHEZ,                            )
                                                      )
                       Petitioner,                    )
                                                      )
vs.                                                   )              ORDER
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
                  Respondent.                         )
_____________________________________                 )

       THIS MATTER is before the Court on Petitioner’s pro se Motion to Vacate, Set Aside or

Correct Sentence under 28 U.S.C. § 2255, (Doc. No. 1).

       I.      BACKGROUND

       Petitioner was indicted along with 14 co-defendants in a narcotics distribution conspiracy.

(5:18-cr-48, Doc. No. 3). Petitioner was charged in Count (1) with conspiracy to distribute and

possess with intent to distribute one or more controlled substances (21 U.S.C. § 841(a)(1). (Id.,

Doc. No. 3 at 1). The Indictment specifically charged that the amount involved in the conspiracy

attributable to Petitioner and as a result of his own conduct, and the conduct of other conspirators

reasonably foreseeable to him, is “at least 50 grams of methamphetamine (actual);” “at least 500

grams of a mixture and substance containing methamphetamine;” and “at least 5 kilograms of a

mixture and substance containing cocaine” in violation of § 841(b)(1)(A). (Id., Doc. No. 3 at 1).

       The parties entered into a written Plea Agreement that is signed by the prosecutor, defense

counsel, and Petitioner. (Id., Doc. No. 239). The Plea Agreement provides that Petitioner was

pleading guilty to Count (1) and admitted to being in fact guilty as charged in Count (1). (Id., Doc.

No. 239 at 1). The Agreement provides that Petitioner’s sentencing exposure is a minimum term


                                                 1

      Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 1 of 13
of 10 years’ imprisonment and a maximum term of life, a $10,000,000 fine, or both, and no less

than five years of supervised release. (Id., Doc. No. 239 at 2). The parties agreed to jointly

recommend that the Court find under the U.S. Sentencing Guidelines that “[t]he amount of a

mixture and substance of methamphetamine that was known or reasonably foreseeable by

the defendant was in excess of 15 kilograms, but less than 45 kilograms….” (Id., Doc. No. 239

at 2) (emphasis added). The United States agreed that the plea is timely for purposes of § 3E1.1(b),

if applicable. (Id.). The parties agreed that either party may argue their respective positions

regarding any other specific offense characteristics, cross-references, special instructions,

reductions, enhancements, departures, and adjustments to the offense level. (Id.).

       The Plea Agreement sets forth the rights Petitioner was waiving by pleading guilty,

including his express waiver of his appellate and post-conviction rights except for claims of

ineffective assistance of counsel or prosecutorial misconduct. (Id., Doc. No. 239 at 4). With

regards to the effects of the plea, the Plea Agreement states:

               The defendant recognizes that pleading guilty may affect the
       defendant’s immigration status if the defendant is not a citizen of the United
       States. The defendant understands that no one can predict with certainty the effect
       of the defendant’s conviction(s) on the defendant’s immigration status. The
       defendant nevertheless seeks to plead guilty, even if the consequence is the
       defendant’s automatic removal from the United States.

(Id., Doc. No. 239 at 5) (emphasis added).

       The Plea Agreement provides that Petitioner stipulated to the existence of a factual basis

for the plea and that he read and understood the Factual Basis filed with the Plea Agreement, and

that it can be used by the Court, U.S. Probation Office, and the United States without objection for

any purpose, including to determine the applicable advisory guideline range or the appropriate

sentence under 18 U.S.C. § 3553(a). (Id., Doc. No. 239 at 3). The Agreement provides that the




                                                 2

     Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 2 of 13
Factual Basis does not necessarily represent all of the conduct relevant to sentencing and that the

United States may present additional relevant facts prior to or at sentencing. (Id.).

       The written Factual Basis is signed by defense counsel, who certified that he read and

discussed with Petitioner and was satisfied that Petitioner understood it, and which Petitioner did

not dispute. (Id., Doc. No. 240 at 2). The Factual Basis provides:

       1. From at least 2016 through July of 2018, the defendant, Ricardo CERVANTES-
       SANCHEZ (“RICA”), knowingly and intentionally conspired with Jesus
       BEDOLLA, Clayon RIVERA-TREJO, Joey CARROLL, Robert LONG, Ricky
       MOSES and others in Catawba County, within the Western District of North
       Carolina, and elsewhere, to distribute and possess with intent to distribute
       controlled substances, to wit: methamphetamine, a Schedule II controlled
       substance; cocaine, a Schedule lI controlled substance; and marijuana, a Schedule
       I controlled substance.

       2. During the conspiracy, the defendant was a kilogram-level distributor of
       marijuana, cocaine, and methamphetamine, operating mainly out of Tennessee and
       North Carolina.

       3. The defendant, in furtherance of the conspiracy, distributed multiple
       kilograms of methamphetamine to CARROLL. The defendant also
       distributed multiple kilograms of methamphetamine to MOSES/LONG.

       4. BEDOLLA worked for the defendant for approximately two years, primarily in
       Tennessee, during 2016-2018. In furtherance of the conspiracy, BEDOLLA would
       perform tasks at the request of the defendant. These tasks included wiring money,
       picking up packages of narcotics, and selling narcotics.

       5. On March 14, 2018, New Jersey State police seized approximately 12 kilograms
       of methamphetamine from within the rear door panels of a black 2009 Cadillac
       CTS, located on a car hauler traveling on Interstate 78 in New Jersey. The Cadillac
       was previously observed at the defendant’s residence in Hickory, North Carolina,
       in February 2018. A SIM card was located in the center console under the cup
       holder of the Cadillac CTS. The phone number on the SIM card belonged to
       CARROLL.

       6. Also in March of 2018, the defendant communicated with BEDOLLA about
       newly arriving methamphetamine, telling BEDOLLA he had “30 coming.” On
       April 1, 2018, the defendant made contact with a courier to pick up a load of
       methamphetamine and provided instructions for the courier to follow the defendant

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     Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 3 of 13
       in a separate vehicle so the methamphetamine could be unloaded. Shortly
       thereafter, a vehicle stop of the identified load vehicle driven by the courier was
       conducted and a search resulted. Law enforcement seized approximately 13.41
       kilograms (29.58 pounds) of methamphetamine from the courier’s vehicle
       during the traffic stop. [fn. 1] Based on a lab test, this methamphetamine was
       98% pure and contained 13.14 kilograms of methamphetamine (actual).

       7. In July of 2018, the defendant arranged for the pick up of methamphetamine in
       Kansas City. The defendant arranged for BEDOLLA to transport the
       methamphetamine to Tennessee on his behalf. On July 14, 2018, BEDOLLA was
       stopped by law enforcement on I-40 in Tennessee. Inside a hidden compartment in
       his vehicle, BEDOLLA was in possession of approximately 1.36 kilograms of
       methamphetamine, which he was transporting for the defendant. [Fn. 2] Based on
       lab test, this methamphetamine was 95% pure and contained 1.29 kilograms
       of meth (actual).

       8. In an interview with law enforcement agents on July 16, 2018, BEDOLLA
       acknowledged that during the conspiracy he was present with the defendant at
       residences in Tennessee where multiple kilograms of methamphetamine were
       located.

       9. During the conspiracy, RIVERA-TREJO was also paid by the defendant to drive
       the defendant around, run errands, deliver narcotics and collect money.

       10. The amount of a mixture and substance of methamphetamine that was
       known to or reasonably foreseeable to the defendant was more than 15
       kilograms, but less than 45 kilograms, resulting in a Base Offense Level of 36.

(Id., Doc. No. 240) (emphasis added).

       A Rule 11 hearing came before Magistrate Judge David Keesler on March 6, 2019.

Petitioner stated under oath that he understood the charges against him and the consequences of

the plea including the maximum and minimum penalties he faced if convicted and possible

deportation. (Id., Doc. No. 395 at 5-7). Petitioner confirmed that he spoke to counsel about how

the U.S. Sentencing Guidelines may apply to his case, that the sentence has not yet been

determined and the guidelines have not yet been calculated, and that he may receive a sentenced

higher or lower than called for by the guidelines. (Id., Doc. No. 395 at 7-9). Petitioner admitted

his guilt of the offense charged in Count (1). (Id., Doc. No. 395 at 9). The prosecutor summarized
                                                4

     Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 4 of 13
the terms of the Plea Agreement in open court including that the amount of methamphetamine

reasonably foreseeable to Petitioner in Count (1) was in excess of 15 kilograms but less than 45

kilograms and agreed with those terms and signed the Plea Agreement. (Id., Doc. No. 395 at 9-

10). Petitioner stated that he understood the Plea Agreement, reviewed it carefully with counsel,

and entered into the Plea Agreement freely and voluntarily without threats, intimidation, coercion,

or promises of leniency or a light sentence. (Id., Doc. No. 395 at 12-14). Petitioner specifically

stated that he understood that he was waiving the right to appeal his sentence and the right to

challenge his conviction and/or sentence in a post-conviction proceeding. (Id. Doc. No. 395 at 7-

9, 12). Petitioner stated that he discussed the Factual Basis with counsel, understood it, and agreed

with it. (Id., Doc. No. 395 at 13). Petitioner stated that he was satisfied with his attorney and “[h]e’s

done a fine job….” (Id., Doc. No. 395 at 14). Petitioner heard and understood all parts of the

proceeding, still wished to plead guilty, and had no questions or statements. (Id.). Counsel stated

that he reviewed each of the terms of the Plea Agreement with Petitioner and was satisfied that

Petitioner understood its terms. (Id., Doc. No. 395 at 15).

        The Presentence Investigation Report (“PSR”) calculated the base offense level as 36

pursuant to U.S. Sentencing Guidelines § 2D1.1(a)(5) for at least 15 kilograms but less than 45

kilograms of methamphetamine. (Id., Doc. No. 301 at ¶ 24). Three levels were added because

Petitioner was a manager or supervisor and the criminal activity involved five or more participants

or was otherwise extensive. (Id., Doc. No. 301 at ¶ 27). Three levels were deducted for acceptance

of responsibility, resulting in a total offense level of 36. (Id., Doc. No. 301 at ¶¶ 31-33). Petitioner

had zero criminal history points and a criminal history category of I. (Id., Doc. No. 301 at ¶¶ 41-

42). The resulting advisory imprisonment range was 188 to 235 months. (Id., Doc. No. 301 at ¶

70).



                                                   5

       Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 5 of 13
         Counsel filed Objections to the PSR arguing that Petitioner should not receive a role

enhancement and requesting a downward variance based on Petitioner’s personal characteristics

and mitigating circumstances. (Id., Doc. No. 300). However, the objection was withdrawn at the

sentencing hearing and the parties agreed that the PSR’s calculation was correct. (Id., Doc. No.

394 at 5). The parties stipulated that the Court could rely on the offense conduct set forth in the

PSR to establish a factual basis. (Id., Doc. No. 394 at 3). Petitioner confirmed that he had the

opportunity to read the PSR and discuss it with counsel. (Id., Doc. No. 394 at 4-5). Counsel

presented argument about Petitioner’s characteristics and mitigating circumstances at the

sentencing hearing and read a statement on Petitioner’s behalf. (Id., Doc. No. 394 at 5-9). The

Government requested a sentence at the bottom of the advisory guideline range of 188 months’

imprisonment. (Id., Doc. No. 394 at 12).

         The Court adopted the PSR without change and, in a Judgment entered on October 16,

2019, sentenced Petitioner at the bottom of the guidelines range to 188 months’ imprisonment

followed by five years of supervised release. (Id., Doc. No. 376); see (Id., Doc. No. 377). Petitioner

did not appeal.

         Petitioner filed the instant pro se Motion to Vacate on March 30, 2020.1 (Doc. No. 1). He

appears to argue that counsel was ineffective for failing to: object to the PSR’s calculation of the

drug amount based on 15-45 kilograms of methamphetamine actual rather than a mixture, which

resulted in a base offense level of 36 rather than 29; request a preliminary hearing on drug amount;

object to the role enhancement; address deportation; and seek a downward variance. Petitioner




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            Houston v. Lack, 487 U.S. 266 (1988) (establishing the prison mailbox rule); Rule 3(d), Rules Governing
Section 2255 Proceedings for the United States District Courts (“[a] paper filed by an inmate confined in an institution
is timely if deposited in the institution’s internal mailing system on or before the last day for filing….”)


                                                           6

      Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 6 of 13
seeks the appointment of counsel, an evidentiary hearing, and a sentence calculated based on an

offense level of 29.

       II.     LEGAL STANDARD

       A federal prisoner claiming that his “sentence was imposed in violation of the Constitution

or the laws of the United States, or that the court was without jurisdiction to impose such sentence,

or that the sentence was in excess of the maximum authorized by law, or is otherwise subject to

collateral attack, may move the court which imposed the sentence to vacate, set aside or correct

the sentence.” 28 U.S.C. § 2255(a).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings provides that courts are to

promptly examine motions to vacate, along with “any attached exhibits and the record of prior

proceedings . . .” in order to determine whether the petitioner is entitled to any relief on the claims

set forth therein. After examining the record in this matter, the Court finds that the arguments

presented by Petitioner can be resolved without an evidentiary hearing based on the record and

governing case law. See Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970). The Court has

also determined that no response by the Government is required.

       III.    DISCUSSION

       (A) Waiver

       “[A] guilty plea constitutes a waiver of all nonjurisdictional defects, including the right to

contest the factual merits of the charges.” United States v. Willis, 992 F.2d 489, 490 (4th Cir. 1993).

Thus, after a guilty plea, a defendant may not “raise independent claims relating to the deprivation

of constitutional rights that occurred prior to the entry of the guilty plea.” Blackledge v. Perry, 417

U.S. 21, 29-30 (1974). Rather, he is limited “to attacks on the voluntary and intelligent nature of




                                                  7

     Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 7 of 13
the guilty plea, through proof that the advice received from counsel was not within the range of

competence demanded of attorneys in criminal cases.” Id.

       An appellate waiver is generally enforceable where the waiver was knowingly and

voluntarily made. United States v. Marin, 961 F.2d 493, 496 (4th Cir. 1992). The Fourth Circuit

does not distinguish between the enforceability of a waiver of direct-appeal rights from a waiver

of collateral-attack rights in a plea agreement. See United States v. Lemaster, 403 F.3d 216, 200

(4th Cir. 2005). There are narrow exceptions to the enforceability of plea waivers such that “even

a knowing and voluntary waiver of the right to appeal cannot bar the defendant from obtaining

appellate review of certain claims.” United States v. Johnson, 410 F.3d 137, 151 (4th Cir. 2005).

For instance, because “a defendant who waives his right to appeal does not subject himself to being

sentenced entirely at the whim of the district court[,] ... a defendant could not be said to have

waived his right to appellate review of a sentence imposed in excess of the maximum penalty

provided by statute or based on a constitutionally impermissible factor such as race.” Marin, 961

F.2d at 496 (emphasis added).

       In the instant case, Magistrate Judge Keesler conducted a thorough Rule 11 colloquy and

concluded that Petitioner was pleading guilty knowingly and voluntarily with a full understanding

of his plea’s consequences, including the appellate and post-conviction waivers. In pleading guilty,

Petitioner specifically admitted that he is guilty of conspiracy to distribute and possess with intent

to distribute one or more controlled substances and that the amount attributable to Petitioner or

reasonably foreseeable to him is “at least 50 grams of methamphetamine (actual);” “at least 500

grams of a mixture and substance containing methamphetamine;” and “at least 5 kilograms of a

mixture and substance containing cocaine….” (Id., Doc. No. 3 at 1). The Plea Agreement that

Petitioner knowingly and voluntarily entered into provides that “[t]he amount of a mixture and



                                                  8

     Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 8 of 13
substance of methamphetamine that was known or reasonably foreseeable by the defendant was in

excess of 15 kilograms, but less than 45 kilograms….” (Id., Doc. No. 239 at 2); (Id., Doc. No. 395

at 9-10). The Factual Basis that Petitioner read, discussed with counsel, and admitted was true,

provided that “[t]he amount of a mixture and substance of methamphetamine that was known to

or reasonably foreseeable to the defendant was more than 15 kilograms, but less than 45 kilograms,

resulting in a Base Offense Level of 36. (Id., Doc. No. 240).

       Petitioner’s present unsupported and self-serving attempts to disavow these admissions

will be rejected. Blackledge v. Allison, 431 U.S. 63, 74 (1977) (“Solemn declarations in open court

carry a strong presumption of verity. The subsequent presentation of conclusory allegations

unsupported by specifics is subject to summary dismissal, as are contentions that in the face of the

record are wholly incredible.”); see, e.g., Lemaster, 403 F.3d at 221 (“[A]llegations in a § 2255

motion that directly contradict the petitioner’s sworn statements made during a properly conducted

Rule 11 colloquy are always ‘palpably incredible’ and ‘patently frivolous or false.’”).

       (B) Ineffective Assistance of Counsel

       The Sixth Amendment to the U.S. Constitution guarantees that in all criminal prosecutions,

the accused has the right to the assistance of counsel for his defense. See U.S. Const. Amend. VI.

To show ineffective assistance of counsel, Petitioner must first establish deficient performance by

counsel and, second, that the deficient performance prejudiced him. See Strickland v. Washington,

466 U.S. 668, 687-88 (1984). The deficiency prong turns on whether “counsel’s representation fell

below an objective standard of reasonableness ... under prevailing professional norms.” Id. at 688.

A reviewing court “must apply a ‘strong presumption’ that counsel’s representation was within

the ‘wide range’ of reasonable professional assistance.” Harrington v. Richter, 562 U.S. 86, 104

(2011) (quoting Strickland, 466 U.S. at 689).



                                                 9

     Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 9 of 13
       The right to the assistance of counsel during criminal proceedings extends to the plea-

bargaining process. See Missouri v. Frye, 566 U.S. 134 (2012). Thus, criminal defendants are

“entitled to the effective assistance of competent counsel” during that process. Lafler v. Cooper,

566 U.S. 156, 162 (2012) (internal quotation marks omitted); Merzbacher v. Shearin, 706 F.3d

356, 363 (4th Cir. 2013). Where a defendant enters his plea upon the advice of counsel, the

voluntariness of the plea depends on whether counsel’s advice was “within the range of

competence demanded by attorneys in criminal cases.” Hill v. Lockhart, 474 U.S. 52, 56 (1985)

(quoting McMann v. Richardson, 397 U.S. 759, 771 (1970)). To satisfy Strickland’s prejudice

prong, the defendant must show “there is a reasonable probability that, but for counsel’s errors, he

would not have pleaded guilty and would have insisted on going to trial.” Hill, 474 U.S. at 59;

Meyer v. Branker, 506 F.3d 358, 369 (4th Cir. 2007).

       Liberally construing the Motion to Vacate, it appears that Petitioner may be arguing that

counsel was ineffective for failing to inform him of the immigration consequences of his guilty

plea, which rendered his plea involuntary. This claim is conclusively refuted by the record.

Petitioner admitted in the written Plea Agreement that counsel advised him that the guilty plea

may have adverse immigration consequences including deportation and removal. (5:18-cr-48,

Doc. No. 239 at 5). Petitioner confirmed his understanding of these potential immigration

consequences during the Rule 11 hearing under oath in open court. (Id., Doc. No. 395 at 6).

Moreover, Petitioner has failed to demonstrate prejudice. He only seeks sentencing relief and does

not seek to withdraw his guilty plea. Therefore, he has failed to satisfy Strickland’s prejudice prong

by showing that there is a reasonable probability that he would not have pled guilty but for

counsel’s alleged misadvice.




                                                 10

    Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 10 of 13
       Petitioner raises a number of claims of ineffective assistance with regards to sentencing

that will be addressed in turn. First, Petitioner’s contention that counsel miscalculated the drug

amount and should have objected to the PSR is conclusively refuted by the record. Petitioner

admitted that he is guilty of the Count (1), which charged a conspiracy to distribute and possess

with intent to distribute narcotics and that the amount attributable to Petitioner was at least 50

kilograms of methamphetamine (actual). (Id., Doc. No. 3). The Plea Agreement and Factual

Proffer state that the applicable amount is between 15 and 45 kilograms of methamphetamine

which carries an offense level of 36. (Id., Doc. Nos. 239, 240). Petitioner agreed to this drug

amount under oath at the Rule 11 hearing. (Id., Doc. No. 395 at 10, 12). The PSR calculated the

offense level in accordance with the Plea Agreement and Factual Proffer as 36 based on 15 to 45

kilograms of methamphetamine. (Id., Doc. No. 301). Petitioner’s admissions about the drug

amount attributable to him relieved the Government of its obligation to prove these facts. Counsel

had no obligation to request a “preliminary hearing” or require that the Government prove the drug

amount in any way in light of Petitioner’s admissions. Counsel cannot be deemed ineffective for

failing to object to facts contained in the PSR to which Petitioner stipulated as part of his free and

voluntary guilty plea. Petitioner’s attempts to disavow these facts and blame counsel for

miscalculating the drug amount are refuted by his own sworn admissions and will be rejected. See

Blackledge, 431 U.S. at 74 (“Solemn declarations in open court carry a strong presumption of

verity. The subsequent presentation of conclusory allegations unsupported by specifics is subject

to summary dismissal, as are contentions that in the face of the record are wholly incredible.”);

see, e.g., Lemaster, 403 F.3d at 221 (“[A]llegations in a § 2255 motion that directly contradict the

petitioner’s sworn statements made during a properly conducted Rule 11 colloquy are always

‘palpably incredible’ and ‘patently frivolous or false.’”).



                                                 11

    Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 11 of 13
        Next, Petitioner argues that counsel was ineffective for failing to object to the three-level

role enhancement as a manager or supervisor of a criminal activity involving five or more

participants or that was otherwise extensive. (Id., Doc. No. 301 at ¶ 27). Although counsel did file

such an objection, it was withdrawn at the sentencing hearing. (Id., Doc. No. 394 at 5). Counsel

did not err by withdrawing the objection because the enhancement is supported by the undisputed

record. Petitioner pled guilty to a conspiracy to distribute and possess with intent to distribute large

amounts of narcotics along with 14 co-defendants. The Factual Basis, to which Petitioner agreed

at the Rule 11 hearing, provides that Petitioner conspired with Bedolla, Rivera-Trejo, Carroll,

Long, Moses, and others, as a kilogram-level distributor of marijuana, cocaine, and

methamphetamine and details several multi-kilogram drug deals for that Petitioner arranged using

other co-defendants. (Id., Doc. No. 240). Petitioner fails to explain what arguments or evidence

counsel should have presented with regards to the role enhancement that had a reasonable

probability of resulting in a lower sentence. Petitioner has failed to demonstrate that counsel

performed ineffectively by failing to dispute a role enhancement that is supported by the record

including Petitioner’s admitted acts. This claim will therefore be denied.

        Petitioner also argues that counsel was ineffective for failing to argue that Petitioner should

receive a downward variance from the advisory guideline range. This claim is refuted by the record

insofar as counsel argued that Petitioner should receive a downward variance based on Petitioner’s

personal characteristics and mitigating circumstances. (Id., Doc. No. 300); see also (Id., 394 at 5-

9). Petitioner fails to explain what more counsel could have presented that had a reasonable

probability of resulting in a sentence below the 188-month sentence at the bottom or the advisory

range that Petitioner received. This claim will therefore be denied.

        IV.     CONCLUSION



                                                  12

     Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 12 of 13
  For the foregoing reasons, Petitioner’s § 2255 Motion to Vacate is denied.

  IT IS, THEREFORE, ORDERED that:

  1.      Petitioner’s pro se § 2255 Motion to Vacate, (Doc. No. 1), is DENIED.

  2.      Pursuant to Rule 11(a) of the Rules Governing Section 2254 and Section 2255

  Cases, this Court declines to issue a certificate of appealability. See 28 U.S.C. § 2253(c)(2);

  Miller-El v. Cockrell, 537 U.S. 322, 338 (2003) (in order to satisfy § 2253(c), a petitioner

  must demonstrate that reasonable jurists would find the district court’s assessment of the

  constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000)

  (when relief is denied on procedural grounds, a petitioner must establish both that the

  dispositive procedural ruling is debatable and that the petition states a debatable claim of

  the denial of a constitutional right).

  3.      The Clerk is instructed to close this case.

                                       Signed: May 20, 2020




                                            13

Case 5:18-cr-00048-KDB-DSC Document 396 Filed 05/20/20 Page 13 of 13
